Filed 8/21/24 P. v. Sanchez CA2/3
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                       SECOND APPELLATE DISTRICT

                                  DIVISION THREE

THE PEOPLE,                                            B329836

        Plaintiff and Respondent,                      Los Angeles County
                                                       Super. Ct. No. LA094183
        v.

HERMOGENES SANCHEZ,

        Defendant and Appellant.


     APPEAL from a judgment of the Superior Court of
Los Angeles County, Thomas Rubinson, Judge. Affirmed.

      Aurora Elizabeth Bewicke, under appointment by
the Court of Appeal, for Defendant and Appellant.

      Rob Bonta, Attorney General, Lance E. Winters,
Chief Assistant Attorney General, Susan Sullivan Pithey,
Assistant Attorney General, Jason Tran and Charles Chung,
Deputy Attorneys General, for Plaintiff and Respondent.
                   _________________________
       A jury convicted Hermogenes Sanchez of four counts of
forcible rape and one count of forcible oral copulation of a minor.
Sanchez’s victim is his biological daughter. On appeal, Sanchez
argues the trial court admitted improper expert testimony and
erred by failing to instruct the jury on a lesser included offense.
We disagree and affirm.
         FACTS AND PROCEDURAL BACKGROUND
       The People filed an information charging Sanchez with
four counts of forcible rape of a minor 14 years of age or older
(Pen. Code, §§ 261, subd. (a)(2), 264, subd. (c)(2))1 and four counts
of forcible oral copulation of a minor 14 years of age or older
(§ 287, subd. (c)(2)(C)). As to each count, the information alleged
an aggravating circumstance that the victim was particularly
vulnerable (Cal. Rules of Court, rule 4.421(a)(3)).
1.     The People’s case
       Sanchez’s biological daughter, H.S., testified that she was
born in Guatemala in 2004. Growing up, Sanchez would hit H.S.
if she misbehaved.
       Sanchez started sexually abusing H.S. when she was
11 or 12 years old. The first time, Sanchez told H.S. to open
her mouth and then kissed her. Over the next year and a half,
Sanchez would kiss H.S.’s breasts and ask her to kiss him in
return for things she needed. One night while H.S. was sleeping,
Sanchez put his hand down her pajama pants and started
touching her vagina. H.S. pretended to be asleep.
       H.S. felt ashamed, afraid, and confused. She tried to
disclose the abuse to her grandmother and mother, telling them
that Sanchez made her “open [her] mouth.” H.S.’s grandmother

1     Statutory references are to the Penal Code.




                                  2
did nothing to help, and H.S.’s mother seemed skeptical.
Based on these reactions, H.S. thought it was futile to tell
them anything else about the abuse. She also felt ashamed
and worried she might be forced to leave her siblings.
       When H.S. was 14 years old, Sanchez and H.S. moved
to California to find work. The rest of their family stayed in
Guatemala. Sanchez and H.S. lived together in a small house.
At first, Sanchez slept in a bed and H.S. slept on an inflatable
mattress on the ground. At some point, Sanchez told H.S.
she had to sleep in the bed with him.
       H.S. was 14 years old the first time Sanchez vaginally
penetrated her. H.S. and Sanchez were in bed together, and
Sanchez was naked. Sanchez lowered H.S.’s underwear and
penetrated her vagina with his penis. H.S. screamed and started
crying. Afterwards, Sanchez said he needed to go to work and
could not stay around to make sure H.S. went back to sleep.
       H.S. estimated that Sanchez vaginally penetrated her
90 more times. He would sometimes kiss her vagina and ask
her to kiss his penis, which she did. H.S. was shocked, terrorized,
and fearful during the abuse. She felt like she was in hell with
no way out, and she contemplated suicide.
       H.S. denied that Sanchez physically forced her to have sex.
However, she suggested he used mental force instead. According
to H.S., Sanchez warned her not to tell anyone about the abuse
or else he would have problems with the police and H.S. would
never see her family again. She was scared to be separated from
Sanchez because she was underage and “didn’t have anybody.”
She said Sanchez’s warnings were a component of the mental
force he used against her.




                                3
      When H.S. was 16 years old, Sanchez found a job for her
at a bakery. Manuel Cruz—who was 41 or 42 years old—was
one of her coworkers. H.S. eventually told Cruz about Sanchez’s
abuse, thinking he might be able to help her.
      Once it was clear that Cruz would not help, H.S. came up
with a new plan to try to stop the abuse. As part of that plan,
H.S. had sex with Cruz three times. She then told Sanchez about
her relationship with Cruz, expecting he would be upset and
want to report it to the police.
      As H.S. predicted, Sanchez was angry and decided to report
Cruz to the police. He told H.S. to lie to the police and tell them
Cruz threatened her and abused her sexually. Sanchez cautioned
H.S. not to tell the police about his sexual abuse.
      The police interviewed H.S. as part of their investigation
of Cruz. During the interview, H.S. told the officers about
Sanchez’s abuse. She was embarrassed and ashamed, so she
claimed she and Sanchez had sex only twice.
      Sergeant Leslie Brenner interviewed Sanchez about
the abuse, and the prosecutor played for the jury a video
of that interview. Sanchez initially denied ever touching H.S.
inappropriately. After Brenner suggested H.S. had videotaped
him, Sanchez admitted having vaginal sex with her. Sanchez
agreed “it was just one time, if you were drunk, if it was dark
and you drank a lot.” Later, he admitted having vaginal sex
with H.S. three or four times. Sanchez admitted kissing H.S.’s
vagina once, but he said he never forced her to kiss his penis.
Sanchez said, “[I]t happened, maybe because I felt lonely,” and
“we ran with our desires, so when it happened, it happened.”
      In addition to the evidence summarized above, the
prosecutor presented expert testimony on Child Sexual Abuse




                                4
Accommodation Syndrome (CSAAS). We discuss the testimony
in more detail later in the opinion.
2.     The defense case
       Sanchez testified in his own defense. He denied having
ever sexually abused H.S. Sanchez suggested H.S. fabricated
the allegations against him because she was upset that he would
not allow her to go to school. According to Sanchez, H.S. was not
happy to have to work and she accused Sanchez of exploiting her.
Sanchez believed Cruz had promised H.S. he would let her study
once she turned 18 years old.
       Sanchez testified his admissions to the police were false.
Sanchez said he was nervous during the interview and thought
Brenner wanted him to admit having sexual contact with H.S.
At the time, he believed Brenner would report him to
immigration authorities if he did not admit the abuse. Sanchez
never had the opportunity to correct the false statements
he made at the interview.
3.     The verdicts and sentence
       The jury found Sanchez guilty of four counts of forcible
rape of a minor 14 years of age or older and one count of forcible
oral copulation of a minor 14 years of age or older. The jury
found Sanchez not guilty of the other three counts of forcible
oral copulation.
       Sanchez waived his right to a jury on the issue of
aggravating circumstances. After a bench trial, the court found
H.S. was not a particularly vulnerable victim and there were
no other aggravating circumstances.
       The court sentenced Sanchez to an aggregate term
of 22 years, consisting of the midterm of nine years on one
of the rape counts, the low term of seven years on a different




                                5
rape count, and the low term of six years on the oral copulation
count. The court imposed low terms on the remaining rape
counts, which it then stayed.
      Sanchez timely appealed.
                            DISCUSSION
1.    There were no errors related to the admission of
      CSAAS evidence
      Sanchez argues the trial court erred in admitting expert
testimony concerning CSAAS. He contends the trial court should
have excluded the testimony under either Evidence Code section
801 or Evidence Code section 352.2 Separately, Sanchez contends
defense counsel provided ineffective assistance by failing to
object to the expert’s testimony and the prosecutor’s argument
to the extent they were outside the scope of a pretrial ruling.
      a.      Background
      Before trial, Sanchez filed a motion to limit or exclude
CSAAS evidence. He argued CSAAS does not meet the
requirements for admissibility because it is not scientific,
reliable, or supported by current research. Additionally,
Sanchez argued CSAAS evidence should be excluded under



2      We reject the Attorney General’s contention that Sanchez
forfeited these arguments by failing to renew his objections
at trial after the court denied his motion in limine to exclude
CSAAS evidence. (See People v. Jennings (1988) 46 Cal.3d 963,
975, fn. 3.) The court’s ruling on the motion in limine was
“sufficiently definite and express” as to preserve the claim for
appeal. (People v. Brown (2003) 31 Cal.4th 518, 547.) Moreover,
any objection at trial would have been futile. (People v. Anderson
(2001) 25 Cal.4th 543, 587.)




                                6
Evidence Code section 352 because it is confusing, time
consuming, and more prejudicial than probative.
       The court denied the motion, noting CSAAS evidence
has been permitted in California for many years. However,
the court ruled the prosecution could not present the evidence
in such a way as to suggest it shows the victim was abused.
Instead, the prosecution must make clear to the jury the purpose
of CSAAS evidence is simply to show the victim’s behavior
is not inconsistent with having been abused.
       At trial, the prosecutor presented expert testimony on
CSAAS from Dr. Laura Maltby, who is a clinical psychologist.
Dr. Maltby testified that she provides therapy and counseling
to children who are victims of abuse, and she has treated more
than 200 children who have suffered sexual abuse. Dr. Maltby
also works as a child forensic interviewer and has interviewed
more than 600 victims of child abuse. Dr. Maltby did not
interview any witnesses in the case or review any reports
associated with it.
       Dr. Maltby explained that Dr. Roland Summit developed
CSAAS to describe confusing or counterintuitive behaviors he
observed in child victims of sexual abuse. Dr. Maltby stressed
that CSAAS cannot be used to determine whether a child was
sexually abused. Instead, it is used only to understand and
explain a victim’s behavior.
       Dr. Maltby discussed the five components of CSAAS:
(1) secrecy—child sexual abuse happens in private, which sends
an implicit message that the child should not talk about it;
(2) helplessness—children are taught to be submissive and
do what adults tell them to do; (3) accommodation—children
find a way to live with the abuse, sometimes by pretending it




                               7
is not happening; (4) recantation—some victims make disclosures
and then take them back; and (5) delayed disclosure—most
disclosures happen after a delay and are piecemeal. Not every
abused child will display all five components of CSAAS. Nor
does the fact that all five components are present mean a child
was sexually abused.
       Dr. Maltby focused on the delayed disclosure component
of CSAAS. She explained there are three broad reasons children
delay disclosure. First, a child may have an otherwise positive
relationship with the abuser and does not want that person
out of his or her life. Second, the abuser may threaten the child.
And third, a child may fear being disbelieved.
       The court instructed the jury that Dr. Maltby’s testimony
“is not evidence that the defendant committed any of the crimes
charged against him. You may consider this evidence only in
deciding whether or not [H.S.]’s conduct was not inconsistent
with the conduct of someone who has been molested, and in
evaluating the believability of her testimony.”
       b.    CSAAS evidence is not inadmissible as a matter
             of law
       For more than three decades, California courts have
consistently held CSAAS evidence is admissible in criminal
trials for the limited purpose of disabusing the jury of common
misconceptions about child victims of sexual abuse. (See, e.g.,
People v. McAlpin (1991) 53 Cal.3d 1289, 1300 (McAlpin); People
v. Ramirez (2023) 98 Cal.App.5th 175, 214, review den. Feb. 28,
2024; People v. Lapenias (2021) 67 Cal.App.5th 162, 171; In re
S.C. (2006) 138 Cal.App.4th 396, 418; People v. Patino (1994) 26
Cal.App.4th 1737, 1744; People v. Housley (1992) 6 Cal.App.4th




                                8947, 955–956; People v. Bowker (1988) 203 Cal.App.3d 385, 393–
394 (Bowker).)
       Despite this authority, Sanchez contends CSAAS evidence
is inadmissible as a matter of law because it is a largely
discredited theory with no proven scientific value, confuses
the jury, and improperly vouches for the prosecution’s witness.
In support of those assertions, Sanchez cites cases from other
states that have held CSAAS evidence is inadmissible as a
matter of law. (See State v. Ballard (Tenn. 1993) 855 S.W.2d
557, 561; King v. Commonwealth (Ky. 2015) 472 S.W.3d 523,
526–530; State v. J.L.G. (2018) 234 N.J. 265, 271–272; Hadden
v. State (Fla. 1997) 690 So.2d 573, 578–579; State v. Foret
(La. 1993) 628 So.2d 1116, 1126–1127; State v. Tjernagel
(Iowa Ct.App. 2017) 895 N.W.2d 922.)
       While caselaw from other jurisdictions may be instructive,
it is not binding. In contrast, we are bound by California
Supreme Court precedent. (See Auto Equity Sales, Inc.
v. Superior Court (1962) 57 Cal.2d 450, 455 (Auto Equity).)
That includes McAlpin, supra, 53 Cal.3d 1289, a case in which
our state’s high court approved the use of CSAAS evidence.
       In McAlpin, a prosecution expert testified it is not unusual
for a parent to refrain from reporting a known molestation of
his or her child. (McAlpin, supra, 53 Cal.3d at p. 1300.) To
determine whether the testimony was admissible, the California
Supreme Court drew a “direct analogy” to CSAAS evidence.
(Ibid.) The high court explained that appellate courts had
created the rule that CSAAS evidence is admissible “ ‘to disabuse
jurors of commonly held misconceptions about child sexual abuse,
and to explain the emotional antecedents of abused children’s
seemingly self-impeaching behavior.’ ” (Id. at pp. 1300–1301.)




                                 9
The court stated the CSAAS rule is “equally applicable” to
evidence regarding the behavior of parents of abused children.
(Id. at p. 1301.) Accordingly, the court held the expert’s
testimony was admissible for the purpose of disabusing jurors
of misconceptions about parents of abused children. (Id. at
pp. 1301–1302.)
       Although the court in McAlpin did not expressly hold
CSAAS evidence is admissible, its reasoning compels that
conclusion. As the Supreme Court noted, its reasons for allowing
the admission of expert testimony concerning the behavior of
parents of sexually abused children are “equally applicable”
to expert testimony concerning the behavior of sexually abused
children. (McAlpin, supra, 53 Cal.3d at p. 1301.) Until the
California Supreme Court revisits the issue, we are bound to
follow McAlpin and must reject Sanchez’s argument that CSAAS
evidence is inadmissible as a matter of law. (See Auto Equity,
supra, 57 Cal.3d at p. 455.) The fact that a handful of courts
in other jurisdictions have reached a different conclusion is
irrelevant. (See People v. Munch (2020) 52 Cal.App.5th 464, 468
(Munch) [that other jurisdictions may disagree with McAlpin
does not affect its binding nature].)
       c.    CSAAS evidence is not inadmissible under
             Evidence Code section 801
       Sanchez suggests we need not follow McAlpin because,
in the time since that case was decided, it has become evident
that CSAAS is a discredited theory. Therefore, he argues,
CSAAS evidence no longer meets the requirements of Evidence
Code section 801.
       Under Evidence Code section 801, the trial court acts
as a gatekeeper to exclude expert opinion testimony that is not




                               10
“[b]ased on matter . . . that is of a type that reasonably may be
relied upon by an expert in forming an opinion upon the subject
to which his testimony relates.” (Evid. Code, § 801, subd. (b);
see Sargon Enterprises, Inc. v. University of Southern California
(2012) 55 Cal.4th 747, 771–772.) In its gatekeeper function, the
“court must not weigh an opinion’s probative value or substitute
its own opinion for the expert’s opinion. Rather, the court must
simply determine whether the matter relied on can provide
a reasonable basis for the opinion or whether that opinion is
based on a leap of logic or conjecture. . . . The goal of trial court
gatekeeping is simply to exclude ‘clearly invalid and unreliable’
expert opinion.” (Sargon, at p. 772.) “Except to the extent
the trial court bases its ruling on a conclusion of law (which
we review de novo), we review its ruling excluding or admitting
expert testimony for abuse of discretion.” (Id. at p. 773.)
       Sanchez contends CSAAS evidence fails to satisfy Evidence
Code section 801 because “ ‘the scientific community is not in
general agreement that CSAAS is based on reliable scientific
research.’ ” Sanchez made the same argument in the trial court.
In support, he cited two research articles concluding that,
while there is empirical evidence that children commonly delay
disclosure of sexual abuse, there is a lack of evidence “to suggest
that denials, recantations, and re-disclosures are typical when
abused children are directly asked about abuse.” (London et al.,
Disclosure of Child Sexual Abuse: What Does the Research Tell
Us About the Ways That Children Tell? (2005) Vol. 11, No. 1,
Psychol. Pub. Pol’y &amp; L. 194, 197; see London et al., Review of the
Contemporary Literature on How Children Report Sexual Abuse
to Others: Findings, Methodological Issues, and Implications
for Forensic Interviewers (2008) Vol. 16, No. 1, Memory 29.)




                                 11
       The court in Munch, supra, 52 Cal.App.5th 464, rejected
a similar challenge to CSAAS evidence based on one of the
articles Sanchez cited. As that court explained, the “ ‘conclusion
regarding recantation rates has itself been challenged by other
professionals who have likewise reviewed the empirical data.’ ”
(Id. at p. 470.) The court went on to cite several research articles
finding child victims of sexual abuse commonly recant. (Id. at
pp. 470–471.) Like the Munch court, we decline to hold the
existence of a small number of articles critical of certain aspects
of CSAAS—which themselves have been criticized—invalidates
McAlpin and renders CSAAS evidence inadmissible as a matter
of law.
       Sanchez also contends CSAAS evidence is inadmissible
under Evidence Code section 801 because it cannot be
“statistically tested.” Sanchez does not explain what he means by
“statistically tested,” nor is it self-evident that CSAAS evidence
fails to meet that standard. Sanchez points to Dr. Maltby’s
testimony that, because there is no “common causal” connection
for CSAAS symptoms, “we can’t test it numerically as a syndrome
per [se].” We do not understand Dr. Maltby to mean CSAAS
cannot be tested statistically. Indeed, Dr. Maltby went on
to explain that some elements of CSAAS—specifically, delayed
and piecemeal disclosure—have been studied and are supported
by the research. In any event, even if CSAAS could not be
statistically tested, Sanchez fails to cite any authority holding
an expert may rely on a theory only if it meets that standard.
       We also reject Sanchez’s passing contention that
Dr. Maltby’s testimony was inadmissible because she had not
personally conducted research on CSAAS. Although Sanchez
seems to argue this rendered the testimony inadmissible under




                                12
Evidence Code section 801, it is essentially a challenge to
Dr. Maltby’s qualifications as an expert, which is governed by
Evidence Code section 720. Under that statute, a “person is
qualified to testify as an expert if he has special knowledge, skill,
experience, training, or education sufficient to qualify him as
an expert on the subject to which his testimony relates.” (Evid.
Code, § 720, subd. (a).) Sanchez did not object to Dr. Maltby’s
testimony on this ground in the trial court, which forfeits the
issue on appeal. (People v. Bolin (1998) 18 Cal.4th 297, 321.) In
any event, Dr. Maltby’s education, training, extensive experience
working with child victims of sexual abuse, and familiarity with
CSAAS were more than sufficient to qualify her as an expert
under Evidence Code section 720.
       d.    Dr. Maltby’s testimony was not inadmissible
             under Evidence Code section 352
       Sanchez argues the trial court should have excluded
Dr. Maltby’s testimony under Evidence Code section 352.
According to Sanchez, the testimony lacked probative value
because it was not directed at a specific myth or misconception
suggested by the evidence. On the other hand, the testimony
was confusing and improperly bolstered the prosecution’s case.
       Evidence is not inadmissible under Evidence Code section
352 unless the probative value is substantially outweighed by
the probability of a substantial danger of confusing the issues
or misleading the jury. (People v. Fruits (2016) 247 Cal.App.4th
188, 201, 205.) We review a trial court’s decision to admit
evidence over an Evidence Code section 352 objection for abuse
of discretion. (People v. Rocha (2013) 221 Cal.App.4th 1385,
1397.)




                                 13
       The record belies Sanchez’s contention that Dr. Maltby’s
testimony was not targeted at a specific myth or misconception
suggested by the evidence. H.S.’s behavior exemplified delayed
disclosure, a core component of CSAAS. H.S. testified that
Sanchez first sexually abused her when she was 11 or 12
years old. She tried to disclose the abuse to her mother and
grandmother by cryptically referring to the fact that Sanchz
made her “open [her] mouth.” Although the abuse continued
and escalated in severity, H.S. waited four or five years—until
she was 16 years old—to disclose it again, first to Cruz and
then to the police. Even then, H.S. continued to downplay the
severity of the abuse, telling the police it happened only twice.
       Defense counsel used H.S.’s delayed and piecemeal
disclosures to attack her credibility. During closing argument,
counsel pointed to evidence showing H.S. had opportunities to
report the abuse much earlier, yet she failed to take advantage
of them. Counsel also drew attention to the fact that H.S.’s
accounts of the abuse changed over time.
       It is well established that CSAAS evidence may be
admitted to rehabilitate a “witness’s credibility when the
defendant suggests that the child’s conduct after the incident
—e.g., a delay in reporting—is inconsistent with his or her
testimony claiming molestation.” (McAlpin, supra, 53 Cal.3d
at p. 1300.) Dr. Maltby’s testimony on delayed and piecemeal
disclosure did precisely that. Her testimony, therefore, was
both relevant and highly probative.
       We also reject Sanchez’s argument that Dr. Maltby’s
testimony may have confused the jury. According to Sanchez,
it was confusing to introduce a scientific theory that posits a
witness’s inconsistent statements may be explained away by




                                14
the very substance of the accusation. It is not apparent—and
Sanchez does not explain—why this would have been confusing
for the jury. Dr. Maltby explicitly stated CSAAS cannot be used
to determine whether a child was abused. Instead, it merely
helps to explain certain behaviors that might otherwise not
make sense to adults.
      To the extent there was still a risk of confusion, the court
instructed the jury that Dr. Maltby’s testimony “is not evidence
that the defendant committed any of the crimes charged
against him. You may consider this evidence only in deciding
whether or not [H.S.]’s conduct was not inconsistent with the
conduct of someone who has been molested, and in evaluating
the believability of her testimony.” The jurors were capable
of understanding and applying these instructions, and we may
presume they did so. (See People v. Cain (1995) 10 Cal.4th 1, 34
(Cain).) On this record, there is no reason to suspect Dr. Maltby’s
testimony might confuse the jury.
      Nor is there merit to Sanchez’s contention that the
prosecutor used CSAAS evidence to prove the abuse occurred
by tailoring Dr. Maltby’s testimony to the facts of the case.
There is nothing inherently improper about CSAAS testimony
mirroring the facts of a specific case. Indeed, if there were
no similarities, the CSAAS evidence would be irrelevant and
inadmissible. (See Bowker, supra, 203 Cal.App.3d at pp. 393–394
[CSAAS evidence must be “targeted to a specific ‘myth’ or
‘misconception’ suggested by the evidence”].)
      Moreover, although portions of Dr. Maltby’s testimony
mirrored H.S.’s account of the abuse, the vast majority of it
did not. As defense counsel pointed out in her closing argument,
much of H.S.’s behavior did not fit the CSAAS model. Even




                                15
on the issue of delayed disclosure—which was the most relevant
CSAAS factor—Dr. Maltby suggested several explanations for
the behavior, only some of which were consistent with the facts
of this case. Considering Dr. Maltby’s testimony as a whole,
the similarities to the case were not so pervasive as to invite
the jurors to infer Sanchez’s guilt. (See People v. Sedano (2023)
88 Cal.App.5th 474, 477–478, 482–483 [expert’s testimony that
non-strangers—including uncles—make up the vast majority
of child abusers did not invite jury to infer the accuser’s uncle
was guilty, where the expert provided a “ ‘laundry list’ ” of
the types of people who can be abusers].)
       Sanchez contends the prosecutor nevertheless acted
improperly by arguing it was “ ‘no coincidence’ ” that the facts
of this case parallel Dr. Maltby’s testimony concerning common
behaviors of victims of abuse. The prosecutor made no such
argument, and Sanchez’s insistence otherwise is based on an
unreasonable interpretation of the record. During her closing
argument, the prosecutor said it was “no coincidence” that
H.S. made a piecemeal disclosure to the police. However, the
prosecutor was not drawing a parallel to Dr. Maltby’s testimony.
Rather, she was pointing out that H.S. had made prior
unsuccessful disclosures. According to the prosecutor, it was
“no coincidence” that H.S. was hesitant to make a full disclosure
to the police given her prior disclosures were unsuccessful.
There is nothing improper about her argument.
       Nor did the prosecutor improperly use Dr. Maltby’s
testimony to vouch for H.S.’s credibility. “As a general matter,
‘[i]mpermissible “vouching” may occur where the prosecutor
places the prestige of the government behind a witness through
personal assurances of the witness’s veracity or suggests that




                               16
information not presented to the jury supports the witness’s
testimony.’ ” (People v. Seumanu (2015) 61 Cal.4th 1293, 1329.)
The prosecutor did nothing of the sort, either while questioning
Dr. Maltby or during her closing argument.
       We also reject Sanchez’s other passing contentions
concerning the prosecutor’s closing argument. The prosecutor
did not act improperly by reminding the jury that Dr. Maltby had
an extensive resume and had not spoken to H.S. The prosecutor’s
remarks were directly responsive to the court’s instruction to
consider Dr. Maltby’s “knowledge, skill, experience, training,
and education . . . and the facts and information on which” she
relied when determining what weight to give her testimony.
(See CALCRIM No. 332.) Nor is there anything improper about
the prosecutor highlighting Dr. Maltby’s testimony that it is
a “common reaction” for children not to fight back while being
abused. The prosecutor accurately summarized Dr. Maltby’s
testimony, and the comment was helpful to disabuse jurors of
potential misconceptions concerning the behavior of child victims
of sexual abuse.
       Sanchez’s reliance on People v. Clotfelter (2021) 65
Cal.App.5th 30 (Clotfelter), is misplaced. In that case, the
jury convicted the defendant of several counts of annoying or
molesting a minor and contacting a minor with the intent to
commit a sexual offense. (Id. at pp. 37–38.) None of the victims
accused the defendant of touching them inappropriately. (Id.
at pp. 38–39, 43.) Nevertheless, the prosecutor’s first witness
at trial was an expert on CSAAS. (Id. at p. 46.) During her
closing argument, the prosecutor asserted she presented the
CSAAS evidence to show “ ‘how victims do and do not react
to these kind of situations, how they do and do not present as




                               17
victims in this case, and he told you that victims don’t always
show signs of abuse.’ ” (Id. at p. 63, original italics.)
       On appeal, the court held defense counsel provided
ineffective assistance by failing to object to both the introduction
of CSAAS evidence and the prosecutor’s argument concerning it.
(Clotfelter, supra, 65 Cal.App.5th at p. 65.) The court explained
it was “not at all apparent that CSAAS testimony was relevant,”
particularly given the alleged victims never accused the
defendant of touching them inappropriately. (Id. at p. 64.)
The court also noted the prosecutor’s argument was improper
to the extent it invited the jurors to use CSAAS evidence to
infer sexual abuse occurred. (Ibid.)
       The unique circumstances of Clotfelter bear no resemblance
to this case. Here, H.S. directly accused Sanchez of sexual abuse,
and Sanchez challenged her credibility based on her delayed
and piecemeal disclosures. Therefore, unlike Clotfelter, CSAAS
evidence was directly relevant and probative. Also unlike
Clotfelter, the prosecutor took care not to invite the jury to use
Dr. Maltby’s testimony for an improper purpose. The prosecutor
instead elicited testimony from Dr. Maltby explaining that
CSAAS cannot be used to diagnose sexual abuse or otherwise
prove that it occurred. The prosecutor then highlighted this
testimony during her closing argument. The court similarly
instructed the jury that Dr. Maltby’s testimony “is not evidence
that the defendant committed any of the crimes charged
against him.” We may presume the jurors followed the court’s
instructions, which were sufficient to ensure they did not use
Dr. Maltby’s testimony to infer sexual abuse occurred. (See
Cain, supra, 10 Cal.4th at p. 34.)




                                18
       e.    Defense counsel did not provide ineffective assistance
       Sanchez argues defense counsel provided constitutionally
deficient assistance. According to Sanchez, before trial, the
court ruled that Dr. Maltby could testify only to the issue of
delayed disclosure. Despite this ruling, Dr. Maltby testified
without objection to all five components of CSAAS, which the
prosecutor subsequently discussed during her closing argument.
Sanchez asserts, based on the court’s pretrial ruling, there is
no reasonable strategy for defense counsel not to “ensure the
prosecutor stuck within the requested and granted limitations”
on CSAAS evidence by objecting to the testimony and argument.
       Under either the federal or state Constitution, the
“benchmark for judging any claim of ineffectiveness must be
whether counsel’s conduct so undermined the proper functioning
of the adversarial process that the [proceedings] cannot
be relied on as having produced a just result.” (Strickland
v. Washington (1984) 466 U.S. 668, 686.) To establish a claim
for ineffective assistance of counsel, a defendant must show by
a preponderance of the evidence that his counsel’s representation
was objectively unreasonable, and that it is reasonably probable
that the outcome of his trial would have been different but for
counsel’s error. (People v. Mai (2013) 57 Cal.4th 986, 1009.)
“On direct appeal, a conviction will be reversed for ineffective
assistance only if (1) the record affirmatively discloses counsel
had no rational tactical purpose for the challenged act or
omission, (2) counsel was asked for a reason and failed
to provide one, or (3) there simply could be no satisfactory
explanation. All other claims of ineffective assistance are
more appropriately resolved in a habeas corpus proceeding.”
(Ibid.)




                                19
       Here, Sanchez’s ineffective assistance of counsel claim
rests on a faulty premise. Contrary to his contentions, the trial
court did not rule the prosecutor could present expert testimony
only on the issue of delayed disclosure. Sanchez relies on
comments the court made while it was discussing the limited
purposes for which the People could present CSAAS evidence.
During that discussion, the court explained the prosecutor could
not present expert testimony on delayed disclosure in such a
way as to suggest the delayed disclosure is itself evidence a child
was abused. Instead, it must be clear the expert testimony is
relevant only to show the delayed disclosure is not inconsistent
with the child having been abused.
       Sanchez seems to interpret the court’s comments as
restricting the subject matters to which Dr. Maltby could testify.
However, read in context, it is apparent that was not the court’s
intention. Instead, the court clearly intended to restrict the
purposes for which the testimony could be used, and to ensure
the prosecutor presented the evidence in a way consistent with
those purposes. The court simply used the issue of delayed
disclosure as an example to illustrate its point. Because the
court did not limit Dr. Maltby’s testimony to the issue of delayed
disclosure, defense counsel acted reasonably by declining to
object when the testimony went beyond that issue. Indeed,
no reasonable attorney would object to testimony based on
a nonexistent ruling.
2.     The trial court was not required to instruct the jury
       on battery
       Sanchez argues the trial court prejudicially erred by failing
to instruct the jury on battery as a lesser included offense of
forcible rape and forcible oral sex.




                                 20
      Even in the absence of a request, a trial court must
instruct the jury on all general principles of law relevant to the
issues raised by the evidence, including lesser included offenses.
(People v. Rogers (2006) 39 Cal.4th 826, 866 (Rogers).) A court
must instruct on a lesser included offense if there is substantial
evidence from which a jury could conclude the defendant is
guilty of the lesser offense but not the greater offense. (People
v. Hughes (2002) 27 Cal.4th 287, 367 (Hughes).) Stated another
way, a “trial court has a sua sponte duty to instruct the jury
on a lesser included uncharged offense if there is substantial
evidence that would absolve the defendant from guilt of the
greater, but not the lesser, offense.” (People v. Simon (2016)
1 Cal.5th 98, 132.)
      An uncharged lesser offense is necessarily included within
a charged offense “if either the statutory elements of the greater
offense, or the facts actually alleged in the accusatory pleading,
include all the elements of the lesser offense, such that the
greater cannot be committed without also committing the lesser.”
(People v. Birks (1998) 19 Cal.4th 108, 117; see also People v.
Sloan (2007) 42 Cal.4th 110, 117.)
      “A battery is any willful and unlawful use of force or
violence upon the person of another.” (§ 242.) Forcible rape is
an act of sexual intercourse “accomplished against a person’s will
by means of force, violence, duress, menace, or fear of immediate
and unlawful bodily injury on the person or another.” (§ 261,
subd. (a)(2).) Forcible oral copulation is the act of copulating
the mouth of one person with the sexual organ or anus of another
person “when the act is accomplished against the victim’s will
by means of force, violence, duress, menace, or fear of immediate
and unlawful bodily injury on the victim or another person.”




                                21
(§ 287, subds. (a), (c)(2)(C).) The punishments for forcible rape
and forcible oral copulation are increased if the victim is a minor.
(See §§ 264, subd. (c), 287, subd. (c)(2)(C).)
       Sanchez argues the court was required to give a battery
instruction because the prosecution presented weak evidence
to prove a necessary element of forcible rape and forcible oral
copulation. Specifically, he argues the jury may have found
he vaginally penetrated and orally copulated H.S. without her
consent—which would constitute willful and unlawful uses of
force—but he did not accomplish those acts using duress or fear.
According to Sanchez, the jury instead may have found H.S.
went along with the sexual abuse merely because she was
“mentally conditioned to comply” with it. If so, the jury would
have convicted him of battery, but not forcible rape or forcible
oral copulation.
       Even assuming battery is a lesser included offense of
the charged crimes (see Hughes, supra, 27 Cal.4th at pp. 365–
366), the trial court was not required to instruct the jury on it.
Contrary to Sanchez’s suggestions, a court is not required to
instruct on a lesser included offense merely because the jury
might not find all the elements of the greater offense to be proven
beyond a reasonable doubt. (See People v. Kraft (2000) 23 Cal.4th
978, 1063 (Kraft); People v. Acevedo (1985) 166 Cal.App.3d 196,
201 (Acevedo).) If that were sufficient, a court would be required
to instruct the jury on every lesser included offense of every
crime charged. Instead, a court is required to instruct on a
lesser included offense only if there is some “proof, other than
an unexplainable rejection of the prosecution’s evidence, that
the offense was less than that charged.” (Kraft, at p. 1063.)




                                22
       Hughes, supra, 27 Cal.4th 287, is instructive. In that case,
the defendant argued the trial court erred by failing to instruct
the jury on battery as a lesser included offense of forcible sodomy.
(Id. at p. 366.) The defendant asserted the battery instruction
was warranted because there was no physical evidence of
penile penetration, which is an element of forcible sodomy.
The defendant also pointed to a pathologist’s testimony that the
bruises found inside the victim’s rectum were consistent with
penetration by a penis, a finger, or another blunt foreign object.
(Id. at pp. 364, 366–367.) The Supreme Court held the trial
court was not required to give a battery instruction under
those circumstances, because nothing the defendant pointed
to “amounts to substantial evidence that defendant was guilty
of battery but not forcible sodomy.” (Id. at p. 367.)
       People v. Lema (1987) 188 Cal.App.3d 1541 (Lema) also
is instructive. In Lema, the court held a trial court was not
required to instruct on assault and battery as lesser included
offenses of rape. (Id. at pp. 1544–1545.) The court explained that
the defendant had tried to convince the jury the sexual activity
with the victim was consensual. The court reasoned, “If believed,
defendant’s version of the events would operate as a complete
defense to the charged offenses . . . . Under this theory, the court
has no obligation to instruct on the offense of assault and battery
since no evidence was presented by the defense that the offenses
were less than those charged.” (Id. at p. 1545.)
       The same is true here. Sanchez’s defense at trial was that
H.S. wholly fabricated the allegations against him. As in Lema,
Sanchez’s version of events amounted to a complete defense
to the charged offenses. Had the jury accepted his theory, it
would have found him not guilty of any crime, including battery.




                                23
Although Sanchez now contends the jury may have found H.S.
was “mentally conditioned to comply” with the sex acts, he
did not raise that theory at trial or present any evidence to
support it. Nor does he suggest any grounds for the jury to
reach that conclusion, apart from “an unexplainable rejection of
the prosecution’s evidence.” (Kraft, supra, 23 Cal.4th at p. 1063.)
Under these circumstances, the court was not required to instruct
the jury on battery as a lesser included offense of forcible rape
and forcible oral copulation. (See Hughes, supra, 27 Cal.4th at
p. 367; Lema, supra, 188 Cal.App.3d at p. 1545; Acevedo, supra,
166 Cal.App.3d at pp. 200–201 [the mere possibility the jury
would disbelieve the victim’s testimony that the defendant
used force did not warrant instructions on lesser included
offenses of rape].)
       For the first time in his reply brief, Sanchez argues
his statements to the police provided the substantial evidence
necessary to convict him of battery, but not forcible rape
or forcible oral copulation. Sanchez forfeited this argument
by failing to raise it in his opening brief. (See People v. Taylor
(2020) 43 Cal.App.5th 1102, 1114 [arguments raised for first time
in reply brief are tardy and forfeited].) He also fails to identify
the specific statements that would have allowed the jury to
convict him of battery, but not the forcible sex crimes. The
only statement that could conceivably support such a verdict
is Sanchez’s brief remark that “we ran with our desires.” Viewed
in the light most favorable to Sanchez, the statement might
suggest H.S. was a willing participant in the sex acts. However,
Sanchez did not elaborate on the point during the interview,
nor is there any other evidence in the record to support it.
Accordingly, it does not provide the substantial evidence




                                24
necessary to warrant a battery instruction. (See People v. Baker
(2012) 204 Cal.App.4th 1234, 1247 [“substantial evidence does
not mean any evidence, no matter how slight”].)
       Even if the court should have instructed the jury
on battery, the error was harmless. A trial court’s failure to
instruct on a lesser included offense is harmless if the defendant
“cannot demonstrate a reasonable probability that the jury
would have—without the error—reached a different result.”
(People v. Gonzalez (2018) 5 Cal.5th 186, 191.) We review
a trial court’s failure to instruct on a lesser included offense
for prejudice under the People v. Watson (1956) 46 Cal.2d 818harmless error standard. (Rogers, supra, 39 Cal.4th at pp. 867–
868; see People v. Schuller (2023) 15 Cal.5th 237, 260.) Such
an error “does not require reversal ‘unless an examination of the
entire record establishes a reasonable probability that the error
affected the outcome.’ ” (People v. Wyatt (2012) 55 Cal.4th 694,
698; People v. Beltran (2013) 56 Cal.4th 935, 955.)
       Sanchez contends it is reasonably likely some jurors
would have convicted him of battery had the court instructed
them on that offense. According to Sanchez, because the
prosecutor presented weak evidence that he accomplished the
sex acts using duress or fear of bodily harm, some jurors may not
have been sufficiently convinced that he committed forcible rape
and forcible oral copulation. However, those jurors nevertheless
may have convicted him simply because they were presented
with an all-or-nothing choice.
       While we agree the evidence of fear was far from
overwhelming, the same cannot be said for the evidence of
duress. On that issue, the trial court instructed the jury that
duress “means a direct or implied threat of force, violence, danger




                                25
or retribution that would cause a reasonable person to do
or submit to something that she would not do or submit to
otherwise. When deciding whether the act was accomplished
by duress, consider all the circumstances, including the
person’s age and her relationship to the defendant.”
       The evidence that Sanchez accomplished the sex acts
using duress was overwhelming. H.S. testified that Sanchez
is her biological father and would physically hit her when
she misbehaved. According to H.S., Sanchez started sexually
abusing her when she was relatively young—11 or 12 years old—
and continued abusing her for several years. When H.S. was
14 years old, Sanchez brought her to the United States, which
is where he committed the charged sex acts. H.S. testified that
she screamed the first time Sanchez penetrated her, and she felt
shocked, terrorized, and fearful during the sex acts.
       H.S. acknowledged that Sanchez did not physically force
her to have sex. However, she suggested he used mental force
instead, which she considered to be stronger than physical force.
H.S. explained that, as a component of this mental force, Sanchez
warned her not to tell anyone about the abuse or else he would
have problems with the police, she would be separated from her
family, and she would never see her family again. H.S. said
she was scared to be separated from Sanchez because she was
underage and “didn’t have anybody.”
       Where, as here, “the victim is young and is molested by
her father in the family home, duress will be present in all but
the rarest cases.” (People v. Thomas (2017) 15 Cal.App.5th 1063,
1072–1073.) Considering the other circumstances—including
that Sanchez abused H.S. while she was under his sole care,
isolated from the rest of her family, and living in a foreign




                               26
country—there is no reasonable possibility a juror could have
concluded this is one of those rare cases. Accordingly, even if
the court had instructed the jury on battery, we are sufficiently
confident the result would have been the same.
                             DISPOSITION
      We affirm the judgment.

      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                     EGERTON, J.

We concur:




             EDMON, P. J.




             ADAMS, J.




                                27
